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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:08CR473
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )            TENTATIVE FINDINGS
                                              )
QUIRT ALAN GLAZE,                             )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 118). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The Defendant objects to the information stated in ¶¶ 69 and 70. Although the

information does not affect the sentencing guideline calculation, the objection will be

discussed at sentencing.

       The Court notes that the plea agreement states that the Defendant should be held

responsible for a drug quantity requiring a higher base offense level than the level reported

in the PSR. As neither party has objected, the Court’s tentative findings are that the

guideline calculation set out in the PSR will be used.

       IT IS ORDERED:

       1.     The Defendant’s objections to ¶¶ 69 and 70 will be discussed at sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 3rd day of August, 2009.


                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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